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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Teresa Woods, et al.
                                 Plaintiff,
v.                                                  Case No.: 1:17−cv−07061
                                                    Honorable Charles R. Norgle Sr.
Lawrence Grayson, et al.
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 5, 2019:


       MINUTE entry before the Honorable Charles R. Norgle: Case dismissed with
prejudice to all defendants [86]. Plaintiff and Defendant to bear their own costs and
attorney's fees. Civil case terminated. Mailed notice(ewf, )




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